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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

    TIMOTHY KING, et al.,
    Plaintiffs,

    v.
                                                      Case No. 20-cv-13134
    GRETCHEN WHITMER, in her                     District Judge Linda V. Parker
    official capacity as Governor of the        Magistrate Judge R. Steven Whalen
    State of Michigan, et al.,
    Defendants,

    and

    ROBERT DAVIS,
    Intervenor Defendant.


 PLAINTIFFS’ OPPOSITION TO INTERVENOR DEFENDANT ROBERT
    DAVIS’ MOTION FOR SANCTIONS TO BE ASSESSED AGAINST
   PLAINTIFFS AND PLAINTIFFS’ COUNSEL PURSUANT TO THE
       COURT’S INHERENT AUTHORITY AND 28 U.S.C. §1927


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 PLAINTIFFS’ OPPOSITION TO INTERVENOR DEFENDANT ROBERT
    DAVIS’ MOTION FOR SANCTIONS TO BE ASSESSED AGAINST
   PLAINTIFFS AND PLAINTIFFS’ COUNSEL PURSUANT TO THE
       COURT’S INHERENT AUTHORITY AND 28 U.S.C. §1927

      Robert Davis’ Motion for Sanctions to be Assessed Against Plaintiffs and

Plaintiffs’ Counsel Pursuant to the Court’s Inherent Authority and 28 U.S.C. §1927

(Dkt. 69) is wholly meritless. Plaintiffs have previously filed an opposition to other

§1927 sanctions motions filed by other parties. Dkt. 85. For the reasons explained in

that Brief and for the reasons stated more fully in the Brief that follows, the motion for

sanctions should be denied.




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 BRIEF IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO INTERVENOR
   DEFENDANT ROBERT DAVIS’ MOTION FOR SANCTIONS TO BE
    ASSESSED AGAINST PLAINTIFFS AND PLAINTIFFS’ COUNSEL
   PURSUANT TO THE COURT’S INHERENT AUTHORITY AND 28
                         U.S.C. §1927

        I.     Whether Plaintiffs’ counsel may be sanctioned under 28 U.S.C. §1927?

        II.    Whether Plaintiffs’ counsel may be sanctioned pursuant to this Court’s

               inherent authority?

                                 Controlling Authority

Cases

Beverly v. Sherman, No. 2:19-CV-11473, WL 2556674, at *1 (E.D. Mich. May 20, 2020)

Carmack v. City of Detroit, No. 18-CV-11018, 2019 WL 4670363, at *9 (E.D. Mich. Sept.

25, 2019)

Holmes v. City of Massillon, 78 F.3d 1041, 1049 (6th Cir. 1996)

Jones v. Cont'l Corp., 789 F.2d 1225, 1232 (6th Cir. 1986)

Metz v. Unizan Bank, 655 F.3d 485, 489 (6th Cir. 2011)

Mys v. Michigan Dep’t of State Police, 736 F. App’x 116, 117 (6th Cir. 2018)

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100, 104 S. Ct. 900, 908, 79 L. Ed.

2d 67 (1984)

Statutes

28 U.S.C. §1927




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                                BRIEF IN SUPPORT

                                 INTRODUCTION

      Sanctions are appropriate under 28 U.S.C. §1927 only when an attorney

“unreasonably and vexatiously” multiplies the proceedings. Here, it is Intervenor Davis

who has continued to multiply the proceedings through obstruction and frivolity, not

counsel for Plaintiffs. Indeed, Plaintiffs have noted and sought dismissal of this matter,

as the relief requested has become moot. Yet, Davis continues a campaign of

obstruction by contesting the dismissal of the case as to him, even though the litigation

remains in the early stages and the parties have yet to begin discovery. While this

obstruction is unfortunate, it is hardly surprising: local courts are quite familiar with

frivolous filings from Davis and his counsel.

      For the reasons that follow, Intervenor Davis’ motion for sanctions should be

denied.

                                   BACKGROUND

      A. The cyber war on our election system is a bipartisan concern, not a
         Republican phantasm.
      The allegations which form the basis of Plaintiffs’ requests for injunctive and

declaratory relief in this case arise out of well-documented, bipartisan concerns about

the security of our electronic voting systems in America. Politicians and industry experts

alike have sounded the alarm about our systems’ sweeping vulnerabilities.




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          As University of Pennsylvania Security Researcher Sandy Clark warned in a

recent HBO documentary,

          I feel like we are in terrible danger of losing what it means to be a
          democracy. If elections can be altered subtly, they can be altered in a way
          that is undetectable, how does one trust the results of their election? And
          democracy functions on trust. Without that trust, things descend into
          chaos and anarchy. Those of us who know how vulnerable … the voting
          systems are in these elections are terribly afraid right now.
Kill Chain: The Cyber War on America’s Elections (HBO 2020).1 Among the

cybersecurity experts who have spoken out about this country’s dangerously “hackable”

electronic voting system is University of Michigan’s own Professor J. Alex Halderman.

Following allegations of Russian interference in the 2016 U.S. Presidential election,

Professor Halderman testified about election security before the U.S. Senate’s

Intelligence Committee. During an exchange with Intelligence Committee Chair

Senator Richard Burr (R-NC), Professor Halderman described how easy it is to hack

into an electronic voting machine whilst remaining undetected. When asked by Senator

Burr whether he was caught when he and his colleagues hacked election systems, Dr.

Halderman responded:

          The one instance when I was invited to hack a real voting system while
          people were watching was in Washington, D.C., in 2010, and in that
          instance, it took less than 48 hours for us to change all the votes, and we
          were not caught.




1   For the Court’s reference, Ms. Clark’s comments appear at 56:03.

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Kill Chain: The Cyber War on America’s Elections (HBO 2020).2 In a similar vein,

Clark explained to a room full of hackers at DEFCON, the world’s largest hacking

convention, how one could easily corrupt a voting machine by simply plugging an

infected memory stick into the machine:

          ’Cause one of the things that you can do with these machines is install
          malware on whatever the memory media is. That will go back and infect
          the back end, vote tabulating, and next year’s ballot design systems for
          years to come because the software doesn’t get upgraded. Your malware
          could stay there forever and no one would know it was there.
Kill Chain: The Cyber War on America’s Elections (HBO 2020).3 These real

vulnerabilities—not Plaintiffs’ lawsuit seeking to expose and to remedy these

vulnerabilities—have undermined American confidence in our country’s democracy.

          Democratic Senators Elizabeth Warren (D-MA) and Amy Klobuchar (D-MN)

have been particularly notable voices in the effort to expose electronic voting system

vulnerabilities and to improve voting security. Indeed, on March 27, 2019, Senators

Klobuchar, Mark Warner (D-VA), Jack Reed (D-RI), and our own Gary Peters (D-MI)

penned a letter to the Chief Executive Officers of the three largest election equipment

vendors—including Dominion Voting Systems—expressing their concerns about

voting machine vulnerabilities:

          The integrity of our elections remains under serious threat. Our nation’s
          intelligence agencies continue to raise the alarm that foreign adversaries
          are actively trying to undermine our system of democracy, and will target
          the 2020 elections as they did the 2016 and 2018 elections.

2   For the Court’s reference, this exchange appears at 1:13:00 of the documentary.
3   For the Court’s reference, Ms. Clark’s comments appear at 52:20 of the documentary.

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      ….
      Despite the progress that has been made, election security experts and
      federal and state government officials continue to warn that more must
      be done to fortify our election systems. Of particular concern is the fact
      that many of the machines that Americans use to vote have not been
      meaningfully updated in nearly two decades. Although each of your
      companies has a combination of older legacy machines and newer
      systems, vulnerabilities in each present a problem for the security of our
      democracy and they must be addressed.
      ….
      The integrity of our elections is directly tied to the machines we vote on
      – the products that you make. Despite shouldering such a massive
      responsibility, there has been a lack of meaningful innovation in the
      election vendor industry and our democracy is paying the price.
See Exhibit 1, Letter to CEOs of Hart InterCivic, Inc., Election Systems & Software,

LLC, and Dominion Voting Systems, pp. 3, 4. Likewise, on December 6, 2019, Senators

Warren, Klobuchar, and Ron Wyden (D-OR), and Representative Mark Pocan (D-WI)

authored a letter in which they expressed their concerns about a highly concentrated

voting machine market plagued with security problems:

      In 2018 alone “voters in South Carolina [were] reporting machines that
      switched their votes after they’d inputted them, scanners [were] rejecting
      paper ballots in Missouri, and busted machines [were] causing long lines
      in Indiana. In addition, researchers recently uncovered previously
      “undisclosed vulnerabilities in nearly three dozen backend election
      systems in 10 states.” And, just this year, after the Democratic candidate’s
      electronic tally showed he received an improbable 164 votes out of 55,000
      cast in a Pennsylvania state judicial election in 2019, the county’s
      Republican Chairwoman said, “[ n ]othing went right on Election Day.
      Everything went wrong. That’s a problem.” These problems threaten the
      integrity of our elections and demonstrate the importance of election
      systems that are strong, durable, and not vulnerable to attack.
Exhibit 2, Letter to Co-CEOs of H.I.G. Capital, LLC, p. 3.



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        Ultimately, contrary to Davis’ assertions in his Motion for Sanctions, election

security is not a right-wing issue or a left-wing issue. These prominent Democratic

voices were not seeking “to undermine the People’s confidence in our country’s

democracy” when they voiced their concerns about the security of our electronic voting

systems. See Dkt. 69, p. 5. In filing this lawsuit and in compiling hundreds of affidavits

from both fact and expert witnesses that support the truth contained therein, Plaintiffs’

aim was not to disenfranchise a single legal voter but to protect the franchise of every

American from manipulation by bad actors seeking to subvert the voters’ will. Plaintiffs

are simply fighting for every eligible American’s right to exactly one vote, no more, no

less.

        B. Davis’ intervention in this lawsuit and the instant Motion for Sanctions
           reflect a common pattern of “serial litigation” and “vexatious and
           frivolous filings.”
        Robert Davis is a serial litigator. As of three and a half years ago, he had filed

“more than 100 lawsuits, going after public officials both obscure and well-known as

part of his self-proclaimed quest for transparent honest government.” See Exhibit 3, Joe

Guillen, A felon’s crusade: Robert Davis vs. everybody, Detroit Free Press, Aug. 11, 2017, p.

1.4 However, in the midst of a “flurry of litigation” that Davis claims was aimed at

“exposing the unethical conduct” of certain Highland Park School Board members,




4This article is also available online at
https://www.freep.com/story/news/local/michigan/wayne/2017/08/11/felons-crusade-robert-davis-vs-
everybody/512097001/ (last visited Jan. 4. 2021, 4:09 PM).

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 Davis embezzled nearly $200,000 of taxpayer money from the Highland Park School

 District:

               According to federal prosecutors, between 2006 and 2010, Davis
        used his influence as a school board member to arrange deals with three
        companies run by his friends. The companies would submit phony
        invoices to the school district, and large portions of the payments ended
        up in Davis’ hands. He spent the stolen funds on restaurants, bars, travel
        and clothing. During its surveillance of Davis, the FBI would see him
        driving a silver Mercedes registered to him, according to court records.
                He pleaded guilty in September 2014 to stealing $197,983 from the
        district and for filing a false federal income tax return….
               The government said some of Davis’ lawsuits were designed as a
        cover. He filed a flurry of litigation from 2008 to 2012 that were “intended
        to intimidate the (school) board and conceal Davis’ embezzlement by
        distracting, dividing and manipulating the board,” according to a
        memorandum prosecutors wrote to support their recommendation that
        he be sentenced to 18 to 24 months in prison.
 Id. at 6-7. In the late 2000s, Davis was filing nearly a lawsuit every month against his

 fellow board members. Id. at 9.

        Davis is represented on this Motion and in this matter by his long-time attorney,

 Andrew Paterson. This duo is well-known in Michigan state and federal courts. As the

 Sixth Circuit noted in a recent opinion, “Plaintiff Robert Davis and his attorney,

 Andrew Paterson, have a prolific history litigating cases in Michigan state courts and

 federal courts. Their filings could be defined, in many instances, as repetitive, vexatious,

 and frivolous.” Davis v. Johnson, 664 F. App’x 446, 450 (6th Cir. 2016). Paterson is no

 stranger to sanctions disputes.



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         In a recent Report and Recommendation authored by Magistrate Judge Sally

 Berens of the Western District of Michigan, the court referred Paterson to Chief Judge

 Robert Jonker for discipline, providing a detailed history of the inappropriate litigation

 conduct that resulted in the courts of this state imposing sanctions on him. See Blackwell

 v. Simon, No. 1:18-CV-1261, 2020 WL 5351022, at *19-20 (W.D. Mich. Mar. 20, 2020),

 report and recommendation adopted, No. 1:18-CV-1261, 2020 WL 2553146 (W.D.

 Mich. May 20, 2020).5 Although Chief Judge Jonker declined to discipline Paterson, he

 noted that “[t]he common theme of all the referenced cases [in Magistrate Judge

 Berens’ Referral for Discipline] … is a pattern of activity involving vexatious and



 5 See, e.g., Davis v. Detroit Downtown Dev. Auth., 782 F. App’x 455, 456 (6th Cir. 2019) (affirming sanctions in the
 amount of $13,506 awarded under 28 U.S.C. §1927, finding that Paterson “went too far” when he “pursued
 two frivolous claims and one frivolous motion, necessitating unnecessary legal fees for
 defendants....”);Williams v. Detroit Downtown Dev. Auth., 2018 WL 4901158, at *6 (E.D. Mich. Oct. 9, 2018)
 (dismissing an action filed by Paterson as a sanction for Paterson’s conduct, noting that Paterson had
 “violated three of the [c]ourt’s discovery orders, ignored the Federal Rules of Civil Procedure, and had been
 less than honest in...representations to the [c]ourt,” holding that Paterson had engaged in “contumacious”
 conduct, and observing that Paterson’s accusations that the defendants’ allegations were “misleading and
 false” were, themselves, misleading and false); Carmack v. City of Detroit, 2019 WL 4670363, at*1, 8 (E.D.
 Mich. Sept. 25, 2019) (sanctioning Paterson under the court’s inherent authority “because Paterson’s conduct
 fell far outside the realm of what could be considered permissible zealous advocacy, including filing two
 complaints containing allegations he ultimately admitted he did not know whether he could support, for
 refusing to concur in defendants’ requests that he dismiss certain baseless claims, for violating a court order
 “prohibiting him from taking discovery,” and for twice attempting to mislead the court on material matters);
 Lotus Indus v. City of Detroit, 2018 WL 4005608, at *4 (E.D. Mich. Aug. 22, 2018) (denying Paterson’s motion
 on behalf of plaintiffs for leave to amend their complaint because “[p]laintiffs have flagrantly disregarded a
 court order by relying on [a] deposition in crafting their amended complaint,” where a court order in a
 different case prohibited the use of that deposition for anything other than that litigation”); Lotus Indus., LLC
 v. Archer, No. 2:17-CV-13482, 2019 WL 4126558, at *1 (E.D. Mich. Aug. 30, 2019) (sanctioning Paterson for
 seeking financial documents from a nonparty which he “plainly did not have a good faith basis to request”
 and for withdrawing his request for the remaining documents listed at a hearing after counsel for the
 nonparty was forced to go through the time and expense of objecting to the request, responding to Paterson’s
 motion to compel, and preparing to address those requests at the hearing); Richards v. Wayne Cty. Airport Auth.,
 2014 WL 2600550, at *2 (Mich. Ct. App. June 10, 2014) (affirming sanctions against Patterson for filing a
 claim barred by res judicata, noting that the trial court found the complaint’s primary purpose was “to harass,
 embarrass, and injure the prevailing party”).

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 frivolous filings, outright misrepresentations of fact and other conduct far outside

 the normal bounds of zealous advocacy.” See Exhibit 4, In re: Andrew A. Paterson, Jr.,

 Administrative Order No. AD-053 (W.D. Mich. Jul. 30, 2020).

        In the instant matter, this Court permitted Davis to intervene under Fed. R. Civ.

 P. 24(b), even as the Court recognized that Defendants (Governor Gretchen Whitmer,

 Secretary of State Jocelyn Benson, and the Michigan Board of State Canvassers) and

 Defendant Intervenors (the City of Detroit and the Democratic Nation

 Committee/Michigan Democratic Party) “aim to protect the same interests on behalf

 of all Wayne County voters, including Davis.” Dkt. 69, p. 3. Both Plaintiffs and

 Defendants opposed Davis’ intervention. See Dkt. 25 (Plaintiffs’ Response in

 Opposition to Motion to Intervene) and Dkt. 12, p. 2 (where Davis admits that

 Defendants denied his request to intervene).

        After interposing himself in this matter, Davis now obtusely seeks sanctions

 against Plaintiffs under this Court’s inherent authority and against Plaintiffs’ counsel for

 “multipl[ying] the proceedings ... unreasonably and vexatiously.” 28 U.S.C. § 1927.

 Given that his participation in this matter added absolutely nothing and only served to

 multiply the pleadings and to hinder the speedy disposition of this litigation, Davis’

 audacity is astounding.

        Although it is troubling that a party would enter a case solely for the purpose of

 obtaining an award of attorney fees, it is allegedly the only way Paterson receives

 compensation for his representation of Davis. See Exhibit 3, Joe Guillen, A felon’s crusade:
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 Robert Davis vs. everybody, Detroit Free Press, Aug. 11, 2017, p. 9 (“Generally, Paterson

 testified during a deposition, the only income he receives from representing Davis

 comes from any fees he is awarded for prevailing in court.”).6

            In keeping with the pattern and practice that Paterson has espoused in other

 cases, Paterson does not show why sanctions are warranted in this case. Instead, he relies

 on conclusions and misrepresentations. See Davis v. Detroit Downtown Dev. Auth., 782 F.

 App'x 455, 457 (6th Cir. 2019) (“Here, Paterson does not give us reasons; he gives us

 conclusions. For example, he says that ‘the claims as pl[eaded] were not frivolous’ and

 that ‘[t]he district court’s finding that certain claims were frivolous [wa]s simply

 misplaced.’ Yet he never tells us why that’s so.”).

            No grounds exist to sanction Plaintiffs and Plaintiffs’ counsel. Davis’ frivolous

 Motion for Sanctions should be denied.

                                           ARGUMENT

        I. No grounds exist to sanction Plaintiffs’ counsel under 28 U.S.C. §1927.

            As an initial matter, an award of sanctions against a losing plaintiff in a civil rights

 action is “an extreme sanction” and “must be limited to truly egregious cases of

 misconduct.” Jones v. Cont'l Corp., 789 F.2d 1225, 1232 (6th Cir. 1986). Sanctions are

 appropriate under § 1927 “when an attorney has engaged in some sort of conduct that,

 from an objective standpoint, ‘falls short of the obligations owed by a member of the



 6   See supra note 1.

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 bar to the court and which, as a result, causes additional expense to the opposing

 party.’” Mys v. Michigan Dep’t of State Police, 736 F. App’x 116, 117 (6th Cir. 2018) (quoting

 Holmes v. City of Massillon, 78 F.3d 1041, 1049 (6th Cir. 1996)). This Court has held an

 attorney’s act in initiating an action, regardless of merit, falls outside the ambit of Section

 1927’s plain language. See Beverly v. Sherman, No. 2:19-CV-11473, WL 2556674, at *1

 (E.D. Mich. May 20, 2020) (applying the “plain language” of Section 1927 to hold that

 the commencement of an action, or the filing of initial pleadings, cannot “multiply”

 proceedings, an interpretation affirmed in “an unbroken band of cases across the courts

 of appeals” (citing Jensen v. Phillips Screw Co., 546 F.3d 59, 65 (1st Cir. 2008)). Further,

 Davis has not alleged any specific “unreasonabl[e] and vexatious[]” or dilatory conduct

 by Plaintiffs’ counsel to prolong or “multiply” proceedings, nor has he provided any

 evidence that could support a finding that Plaintiffs’ counsel acted recklessly, in

 subjective bad faith, or with an improper intent in commencing this proceeding.

        Given that this case was litigated before this Court in less than two weeks, it is

 difficult to conceive of how Plaintiffs’ could have engaged in any dilatory practices over

 such a short period of time. In all events, Davis does not point to what excess costs he

 incurred as a result of any unreasonable or vexatious conduct on the part of Plaintiffs.

 See Schmitzer v. Cty. of Riverside, 26 F. App’x 701, 702 (9th Cir. 2002) (“The plain language

 of § 1927 provides for sanctions only if an attorney “multiplies the proceedings ...

 unreasonably and vexatiously.”); United States v. Associated Convalescent Enterprises, Inc., 766

 F.2d 1342, 1347–48 (9th Cir. 1985) (“Section 1927 authorizes the taxing of only excess
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 costs incurred because of an attorney’s unreasonable conduct; it does not authorize

 imposition of sanctions to reimburse a party for the ordinary costs of trial.”).

          Instead, Davis grounds his Motion for Sanctions in the repeated assertion that

 “Plaintiffs’ lawsuit was clearly frivolous from its initial filing.” Dkt. 69, p. 4. He does

 not show why Plaintiffs’ claims were frivolous. He does not explain why this Honorable

 Court spilled thirty-six pages of ink to address Plaintiffs’ claims. He does not note that

 a Petition for Certiorari seeking review of this Court’s ruling is currently pending before

 the United States Supreme Court. See King v. Whitmer, Docket No. 20-815. The closest

 Davis comes to making a particularized, fully formed argument relates to his assertion

 that Plaintiffs filed a “false affidavit” with the Court. Dkt. 69, p. 6. Pointing to a news

 article7 that dismisses one paragraph out of a fourteen paragraph affidavit authored by

 expert Russell James Ramsland, Jr., Davis argues “that the information contained in

 Russell James Ramsland Jr.’s affidavit (ECF No. 1-14) and Expert Report (49-3) was

 FALSE because the numbers and data cited in his affidavit (ECF No. 1-14) and Expert

 Report (ECF No. 49-3) ‘do not match the official statement of votes cast in all but one

 jurisdiction, and many inflate the numbers significantly.’” Dkt. 69, p. 6.

          Facts are determined through hearings and evidentiary submissions not through

 blind adherence to media reporting. The news article Davis cites acknowledges that Mr.



 7 See Clara Hendrickson, Affidavit in Michigan lawsuit makes wildly inaccurate claims about voter turnout in state,”
 DETROIT FREE PRESS, available at
 https://www.freep.com/story/news/local/michigan/detroit/2020/12/04/michigan-lawsuit-makes-wild-
 claims-voter-turnout/3829654001/.

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 Ramsland filed a second affidavit in this case, see ECF No. 49-3, in which Mr. Ramsland

 explained the alleged discrepancy that the news article noted and updated his table with

 new data published by the State of Michigan. Dkt. 49-3, p. 13 (“Dr. Rodden was correct

 in his noting of excessive turnout figures listed in my affidavit for some precincts in MI

 based on new data from Michigan.”). That figures would change, as available data

 changed, is to be expected. Mr. Ramsland updated the figures when new data became

 available. Davis has simply no basis for asserting that Mr. Ramsland’s affidavit was

 “false” or that he executed his original affidavit with a fraudulent purpose. Any

 suggestion to the contrary is misleading.

        Rather than providing reasons for his assertions that Plaintiffs’ claims are

 “frivolous,” Davis simply summarizes this Court’s holdings and adds the adverb

 “clearly”: “Plaintiffs’ claims were clearly barred by Sovereign Immunity under the

 Eleventh Amendment of the U.S. Constitution, laches, mootness, and moreover,

 Plaintiffs lack standing to bring the claims.” Dkt. 69, p. 5. While this Court has up until

 this point taken a view of the law and of the facts that is different than that of Plaintiffs,

 Plaintiffs claims are certainly colorable. Given the unprecedented nature of the factual

 allegations Plaintiffs made in their Complaint, Plaintiffs in many respects are operating

 in novel, uncharted constitutional territory.

        Plaintiffs’ extensive and heavily documented claims regarding election fraud were

 not, and are not, objectively unreasonable, within the meaning of Section 1927 or

 otherwise. Counsels’ representation of Plaintiffs who disagree with Davis does not
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 constitute bad faith, even if the Court strongly agrees with the City. Rather, it reflects

 an incompatible view of mutually exclusive assertions. This is not sanctionable.

        A. The Eleventh Amendment.

        The Supreme Court has held that “[i]t is clear … that in the absence of consent

 a suit in which the State or one of its agencies or departments is named as the defendant

 is proscribed by the Eleventh Amendment.” Pennhurst State Sch. & Hosp. v. Halderman,

 465 U.S. 89, 100, 104 S. Ct. 900, 908, 79 L. Ed. 2d 67 (1984). However, “[w]hen the suit

 is brought only against state officials, a question arises as to whether that suit is a suit

 against the State itself.” Id. at 101.

        This Court determined that Plaintiffs’ claims against Governor Whitmer and

 Secretary of State Benson were “suit[s] against state officials when ‘the state is the real,

 substantial party in interest.’” Dkt. 62, pp. 8-9. Plaintiffs respectfully disagree with that

 conclusion. Their Complaint alleges ultra vires executive conduct in violation of state

 law. Plaintiffs’ cause of action is premised on the fact that Defendants Whitmer and

 Benson have acted inconsistently with state and federal law. Accordingly, in Plaintiffs’

 view, the state is not the real party in interest. Ultimately, the point is that the resolution

 of this issue is fact-intensive, not “clear.”

        B. Laches.

        Laches is an equitable doctrine that is necessarily fact-dependent. After a diligent

 search, Plaintiffs have been unable to locate any analogous case in which a court



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 imposed sanctions on a plaintiff for bringing a claim that the court subsequently

 deemed barred by laches.

        In the instant case, most of Defendants conduct did not become apparent until

 Election Day. Thereafter, Plaintiffs diligently collected dozens of affidavits and drafted

 a seventy-five page complaint detailing each of its claims. Plaintiffs filed their Complaint

 a mere two days after the Michigan Board of State Canvassers certified the election

 results. Plaintiffs had a reasonable argument for the roughly twenty-one day delay

 between Election Day and the filing of this Complaint. As such, sanctions would be

 grossly inappropriate on this basis; especially in a civil rights case such as this. Indeed,

 an award of sanctions on the basis of laches, or any other basis imagined by Davis,

 would have a dangerous chilling effect on future plaintiffs who wish to adjudicate voting

 rights disputes. Such Plaintiffs should not be dissuaded from moving to protect their

 constitutional rights by a fear that an unpersuaded judge will sanction them just for

 bringing the lawsuit.

        C. Mootness.

        Plaintiffs and this Court disagreed on the question of whether or not the relief

 Plaintiffs sought was moot. The Court essentially concluded that it did not have the

 power to “decertify” election results once those results had been certified by the

 Governor. In delivering its reasons, the Court did not cite any controlling case law in

 support because this is a novel area. See Torres v. City of Madera, 2006 WL 3257491, at *4

 (E.D. Cal. Nov. 9, 2006) (“Where no previous court has considered a particular or novel
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 issue, sanctions under § 1927 generally are disfavored.”). Accordingly, Plaintiffs’

 reasonable arguments in support of their entitlement to relief cannot be sanctionable

 on this basis.

          D. Standing.

          As Presidential Electors, Plaintiffs, citing Carson v. Simon, 978 F.3d 1051 (8th Cir.

 2020), alleged that they had standing to raise post-election challenges concerning the

 manner in which votes are tabulated and counted for their election to the Constitutional

 public office of Elector. This is a novel issue that has not yet been directly addressed

 by the Supreme Court or by the Sixth Circuit. As such, Plaintiffs’ claim was neither

 frivolous nor sanctionable.

          Davis presents no argument and makes no showing as to why Plaintiffs’ counsel

 should have known that Plaintiffs’ claims were frivolous. Given the significant and res

 nova questions of law implicated here, it would be wholly inappropriate for this Court

 to punish Plaintiffs’ counsel for making reasonable and novel legal arguments in

 support of their clients’ claims.

    II.      No grounds exist to sanction Plaintiffs under this Court’s inherent
             authority.
          Davis has an even steeper hill to climb in order to obtain attorney fees pursuant

 to this Court’s inherent authority. A court may assess attorney’s fees under its inherent

 powers “when a party has acted in bad faith, vexatiously, wantonly, or for oppressive




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 reasons,” or when the conduct is “tantamount to bad faith.” Metz v. Unizan Bank, 655

 F.3d 485, 489 (6th Cir. 2011) (internal citations omitted).

       The Sixth Circuit applies a three-part test to determine whether the imposition

 of sanctions under this elevated bad faith standard is proper. This test requires the

 district court to find “[1] that ‘the claims advanced were meritless, [2] that counsel knew

 or should have known this, and [3] that the motive for filing the suit was for an improper

 purpose such as harassment.’” Id. The mere fact that an action is without merit does

 not amount to bad faith. Id. Rather, “the court must find something more than that a

 party knowingly pursued a meritless claim or action at any stage of the proceedings.”

 Id. Examples of “something more” include: a finding that the plaintiff filed the suit “for

 purposes of harassment or delay, or for other improper reasons,” a finding that the

 plaintiff filed “a meritless lawsuit and [withheld] material evidence in support of a

 claim,” or a finding that a party was “delaying or disrupting the litigation” or

 “hampering enforcement of a court order.” Id. (internal citations omitted).

       Davis essentially argues that Plaintiffs’ claims are sanctionable because they are

 meritless and, as such, must have been brought for an improper purpose. Davis’

 conclusory assertions provide no support for the sanctions he seeks. Plaintiffs’ claims

 were based on well-documented evidence of electronic voting machine vulnerabilities

 and statistical impossibilities supported by dozens of affidavits executed by both fact

 and expert witnesses. Plaintiffs’ only aim in bringing this action was the protection of



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 the fundamental right to vote secured in our Constitution but threatened by a voting

 system that leaves the faithful execution of this right open to attack.

        Because Davis failed to make any showing of bad faith, Davis’ Motion for

 Sanctions under this Court’s inherent authority must be denied.

                                     CONCLUSION

        Davis makes no effort to demonstrate that Plaintiffs’ counsel knew or reasonably

 should have known that Plaintiffs’ claims were frivolous. He does nothing more than

 assert that Plaintiffs brought their claims in bad faith. In the history of our Republic,

 Plaintiffs’ factual claims are unparalleled and the legal territory for these claims

 uncharted. See Carmack v. City of Detroit, No. 18-CV-11018, 2019 WL 4670363, at *9

 (E.D. Mich. Sept. 25, 2019) (“[S]erious public interest lawyers certainly need some

 leeway to file legitimate and/or novel claims against state actors.”). An order

 sanctioning the Plaintiffs or their counsel in this case would have a severe chilling effect

 on voting rights challenges and set a dangerous precedent that would undoubtedly

 compromise the political neutrality of the judiciary. Moreover, such an award would

 implicate Plaintiffs’ and their counsel’s First Amendment right of access to the courts,

 their Fifth and Fourteenth Amendment rights to due process, and their Fourteenth

 Amendment equal protection rights. This Court should resist Davis’ frivolous invitation

 to go down this constitutionally problematic path and should deny Davis’ utterly

 meritless Motion for Sanctions.



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 Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2020, a true and genuine copy of the

 foregoing was served via electronic mail by the Court’s CM/ECF system to all

 counsel of record, including:

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